                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:03CR16

UNITED STATES OF AMERICA                      )
                                              )
               vs.                            )
                                              )                       ORDER
KEVIN DESHAWN BARLOW (2),                     )
                                              )
            Defendant.                        )
__________________________________            )

       THIS MATTER is before the Court on Defendant’s pro se Motion for Leave to File

Section 2255 Motion, filed November 30, 2005.

       On May 5, 2003, pursuant to a written agreement with the Government, Defendant pled

guilty to conspiracy to possess with intent to distribute cocaine and cocaine base, in violation of

21 U.S.C. §§ 841, 846 (Count One), using and carrying a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(c)(1) (Count Four), and possession of a firearm

by a convicted felon, in violation of 18 U.S.C. § 922(g)(1) (Count Five). On February 10, 2004,

Defendant was sentenced to 322 months imprisonment. Judgment was entered on March 8,

2004. Defendant did not file an appeal nor has he previously filed a Motion to Vacate pursuant

to 28 U.S.C. § 2255. Defendant now asks the Court to allow him to file a Section 2255 Motion.

       Defendant is advised that in 1996, Congress passed the Antiterrorism and Effective Death

Penalty Act (“AEDPA”) which amended § 2255 to add a one-year limitation period. In relevant

part, § 2255 now provides that “[t]he limitation period shall run from the latest of: (1) the date on

which the judgment of conviction becomes final ; (2) the date on which the impediment to make

a motion created by governmental action in violation of the United States Constitution or the

laws of the United States is removed, if the movant was prevented from making a motion by such



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governmental action; (3) the date on which the right asserted was initially recognized by the

Supreme Court, if that right has been newly recognized by the Supreme Court and made

retroactively applicable to cases on collateral review; or (4) the date on which the facts

supporting the claim or claims presented could have been discovered through the exercise of due

diligence.” 28 U.S.C. § 2255.

       Defendant’s judgment became final on March 8, 2004, when the Judgment and

Commitment was filed by the Court. Therefore, in order to maintain a Section 2255 claim,

Defendant had to file such a Motion within one year after his judgment became final. Defendant

did not file a Section 2255 motion within the limitations period.

       Although Defendant’s Section 2255 motion would be untimely, the Fourth Circuit has

found in such cases that the district court must offer the defendant an opportunity to explain why

an apparently untimely Section 2255 motion is subject to some exception. Hill v. Braxton, 277

F.3d 701, 707 (4th Cir. 2002); see also McMillan v. Jarvis, 332 F.3d 244, 248 (4th Cir. 2003)

(concluding that Hill’s notice requirement extends to both pro se habeas petitioners and those

represented by counsel).

       Therefore, if Defendant wishes the Court to construe the instant Motion as one pursuant

to Section 2255, the Court would permit Defendant to provide additional documentation to

support his Section 2255 motion, and to offer an explanation as to why his untimely Section

2255 motion is subject to an exception to the limitations period.

       IT IS, THEREFORE, ORDERED that the Court DEFERS RULING on Defendant’s

Motion for Leave to File Section 2255 Motion.

       Defendant is notified that he has until March 1, 2006 to notify the Court as to whether

he wants his current Motion construed pursuant to Section 2255. If Defendant does not so notify



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the Court, the Court will construe Defendant’s Motion for Leave to File a Section 2255 Motion as

pursuant to Section 2255, and render an Order accordingly.

       In view of the possibility that this motion may ultimately be construed as one pursuant to

Section 2255, Defendant is hereby notified that he should explain to the Court why his motion

should not be considered untimely filed.

       The Clerk is directed to send copies of this Order to Defendant, defense counsel, and the

attorney for the United States.



                                               Signed: February 1, 2006




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